                                               United States Bankruptcy Court
                                                 Northern District of Ohio
In re:                                                                                                     Case No. 18-50589-amk
Randall S. Kogler                                                                                          Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0647-5                  User: admin                        Page 1 of 1                          Date Rcvd: Mar 23, 2018
                                      Form ID: 309A                      Total Noticed: 12


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 25, 2018.
db             +Randall S. Kogler,    8609 Branch Road,   Medina, OH 44256-7736
tr             +Kathryn A. Belfance Trustee,    Akron,   50 South Main Street,    10th Floor,
                 Akron, OH 44308-1849
25346557       +ARSI,   555 ST. CHARLES DRIVE,    THOUSAND OAKS, CA 91360-3982
25346559       +CHRYSLER CAPITAL,   P.O. BOX 961245,    FORT WORTH, TX 76161-0244
25346560       +CLEVELAND CLINIC,   9500 EUCLID AVENUE,    CLEVELAND, OH 44195-0002
25346562      ++FIFTH THIRD BANK,   MD# ROPS05 BANKRUPTCY DEPT,    1850 EAST PARIS SE,
                 GRAND RAPIDS MI 49546-6253
               (address filed with court: FIFTH THIRD BANK,     38 FOUNTAIN SQUARE PLAZA,
                 CINCINNATI, OH 45263)
25346563       +FIRST CREDIT,   P.O. BOX 630838,    CINCINNATI, OH 45263-0838
25346564       +THIRD FEDERAL SAVINGS & LOAN,    PO BOX 605007,   CLEVELAND, OH 44105-0007

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: docket@ohbksource.com Mar 23 2018 22:10:54      William J. Balena,
                 30400 Detroit Road,   Suite 106,   Westlake, OH 44145
ust            +E-mail/Text: ustpregion09.cl.ecf@usdoj.gov Mar 23 2018 22:11:32       Cynthia J. Thayer,
                 US Department of Justice,   201 Superior Avenue,    Suite 441,    Cleveland, OH 44114-1234
25346558        EDI: BANKAMER.COM Mar 24 2018 01:49:00      BANK OF AMERICA,    P.O. BOX 982238,
                 EL PASO, TX 79998
25346561       +E-mail/Text: collectionslegal@parknationalbank.com Mar 23 2018 22:14:10
                 FARMERS & SAVINGS BANK,   120 NORTH WATER,    LOUDONVILLE, OH 44842-1276
                                                                                              TOTAL: 4

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 25, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 23, 2018 at the address(es) listed below:
              Kathryn A. Belfance Trustee   kb@rlbllp.com, oh01@ecfcbis.com
              William J. Balena   on behalf of Debtor Randall S. Kogler docket@ohbksource.com,
               debra@ohbksource.com
                                                                                            TOTAL: 2




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Information to identify the case:
Debtor 1              Randall S. Kogler                                                 Social Security number or ITIN        xxx−xx−1220
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of Ohio
                                                                                        Date case filed for chapter 7 3/20/18
Case number:          18−50589−amk


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Randall S. Kogler

2.      All other names used in the
        last 8 years

3.     Address                               8609 Branch Road
                                             Medina, OH 44256

4.     Debtor's attorney                     William J. Balena                                      Contact phone (440) 365−2000
                                             30400 Detroit Road
       Name and address                      Suite 106                                              Email: docket@ohbksource.com
                                             Westlake, OH 44145

5.     Bankruptcy trustee                    Kathryn A. Belfance Trustee                            Contact phone (330) 434−3000
                                             Akron
       Name and address                      50 South Main Street                                   Email: kb@rlbllp.com
                                             10th Floor
                                             Akron, OH 44308
                                                                                                               For more information, see page 2 >
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Debtor Randall S. Kogler                                                                                            Case number 18−50589−amk


6. Bankruptcy clerk's office                    455 John F. Seiberling Federal Building                      Hours open 9:00 AM − 4:00 PM
                                                US Courthouse
    Documents in this case may be filed at this 2 South Main Street                                          Contact phone 330−252−6100
    address. You may inspect all records filed Akron, OH 44308
    in this case at this office or online at
    www.pacer.gov.                                                                                           Date: 3/23/18
    www.ohnb.uscourts.gov.


7. Meeting of creditors                          May 8, 2018 at 01:30 PM                                     Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              John F. Seiberling U.S.
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            Courthouse, Suite B3−61, 2
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     South Main Street, Akron, OH
                                                                                                             44308
                                                         *** Valid photo identification required ***
                                                     *** Proof of Social Security Number required ***


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 7/9/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2




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